     Case: 1:17-cv-00937 Document #: 35 Filed: 03/23/17 Page 1 of 1 PageID #:542

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 23, 2017:


        MINUTE entry before the Honorable Joan B. Gottschall: Counter−Defendants'
Fed. R. Civ. P. 12(b)(6) motion to dismiss counterclaim of defendant/counter−plaintiff
[31] is briefed as follows: response due 4/14/17; reply due 4/28/17. Motion hearing set for
3/24/17 is stricken; no appearance required. Mailed notice(mjc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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